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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

United States of America,

             Plaintiff,

v.                                              Criminal No. 21-268 (SRN/LIB)

Alexia Gah Gi Gay Mary Cutbank et al.,

           Defendants.
____________________________

United States of America,

             Plaintiff,

v.                                               Criminal No. 22-220 (ECT)

Rose Celeste Siewert,

             Defendant.


              ORDER OF DIRECTION TO THE CLERK OF COURT
                 FOR REASSIGNMENT OF RELATED CASE

      Case No. 21-cr-0268 (SRN/LIB) having been assigned to Judge Susan Richard

Nelson and Magistrate Judge Leo I. Brisbois and Case No. 22-cr-0220 (ECT) having later

been assigned to Judge Eric C. Tostrud, and said matters being related cases,

      IT IS HEREBY ORDERED that Case No. 22-cr-0220 (ECT) be assigned to Judge

Susan Richard Nelson, nunc pro tunc, by use of a card from the appropriate deck in the

automated case assignment system. The Clerk of Court is directed to reuse a card from the

same deck from which the original assignment was made pursuant to the Court’s

Assignment of Cases order filed January 10, 2020.
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       IT IS FINALLY ORDERED that a copy of this order shall be filed in each of the

above respective files.



Dated: September 12, 2022              s/ Susan Richard Nelson
                                       SUSAN RICHARD NELSON
                                       United States District Judge


Dated: September 12, 2022              s/ Eric C. Tostrud
                                       ERIC C. TOSTRUD
                                       United States District Judge




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